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     JOHN DSICHIARA

 7

 8                        IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11

12   UNITED STATES OF AMERICA,                      )       No. 2:15-CR-00190 GEB
                                                    )
13           Plaintiff,                             )       STIPULATION REGARDING
                                                    )       TERMINATION OF PRETRIAL
14                                                  )       SUPERVISION; [PROPOSED] FINDINGS
                                                    )       AND ORDER
15   v.                                             )
                                                    )
16                                                  )
                                                    )
17
                                                    )
                                                    )
18
     JOHN DICHIARA,                                 )
                                                    )
             Defendants.                            )
19
                                                    )
                                                    )
20
                                                STIPULATION
21

22
             IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States

23   Attorney, through Audrey Hemesath, Assistant United States Attorney, attorney for Plaintiff, and
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     Robert M. Wilson, attorney for defendant John DiChiara, that Mr. DiChiara’s pre-trial
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     supervision should be terminated and that he should remain out of custody on the presently set
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     $100,000 unsecured appearance bond. As a condition of his release, Mr. DiChiara shall comply
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28   with all federal, state, and local laws.


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             Pretrial Services indicates Mr. DiChiara has done exceedingly well on supervision. On
 1

 2   September 25, 2015, the Court ordered Mr. DiChiara released on conditions of pretrial

 3   supervision and a $100,000 unsecured appearance bond. (Doc. Nos. 24, 33 and 34.) Mr.
 4
     DiChiara has remained on pre-trial supervision since that time without incident. Based on the
 5
     foregoing, the parties stipulate that Mr. DiChiara pre-trial supervision should be terminated, he
 6

 7
     be ordered released on the presently set $100,000 unsecured appearance bond, and that condition

 8   number eight should remain in effect.
 9           IT IS SO STIPULATED.
10   Dated: April 9, 2019                          U.S. ATTORNEY
11                                             by: // Robert M. Wilson as authorized 4/9/2019
                                                   AUDREY HEMESATH
12                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
13
     Dated: April 9, 2019                           /s/ Robert M. Wilson __
14                                                  ROBERT M. WILSON
                                                    Attorney for Defendant
15                                                  JOHN DICHIARA
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17

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                                        ORDER
19           IT IS HEREBY ORDERED, the Court, having received, read, and considered the

20   parties’ stipulation, that pre-trial supervision be terminated, that he remains released on the
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     presently set $100,000 unsecured appearance bond, and that condition number five of his
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     special conditions of pre-trial release, concerning his passport, shall remain in effect. As a
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24
     condition of his pretrial release, Mr. DiChiara shall comply with all federal, state, and local

25   laws.
26   Dated April 10, 2019
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